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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


CLEARONE COMMUNICATIONS, INC., a                           ORDER GRANTING MOTION TO
Utah corporation,                                          EXECUTE BENCH WARRANTS and
                                                           DENYING PENDING MOTIONS FILED BY
                            Plaintiff,                     DONALD BOWERS
v.
                                                           Case No. 2:07-cv-37-DN
LONNY BOWERS and DONALD BOWERS,
                                                           District Judge David Nuffer
                            Defendants.


           At the March 31, 2016 hearing to resolve pending motions filed by Plaintiff ClearOne

Communications, Inc. (ClearOne) and Donald Bowers, James Magleby and Jennifer Frazier

Parrish appeared for ClearOne, Robb Jones appeared for Lonny Bowers, and Donald Bowers

appeared pro se and participated via telephone conference call from the federal prison camp

where he is currently incarcerated. Due to the federal correctional facility’s time constraints on

the call, the hearing proceeded without argument from the parties.

           After a complete review of the papers filed in support of the motions filed by Donald

Bowers, 1 both motions are denied because they are entirely without merit.

           The record regarding the civil warrants was summarized and clarified in order to address

ClearOne’s motion for an order executing the bench warrants against Donald Bowers and Lonny

Bowers. 2 At a hearing on July 17th, 2013, Lonny Bowers’s motion to recall the civil warrant 3

was denied, but the effect of the warrant was stayed based on Lonny Bower’s agreement to

1
 Motion Requesting the Appointment of Counsel, docket no. 3108, filed January 11, 2016; Motion for Sanctions
Pursuant to 28 U.S.C. § 1927, docket no. 3114, filed January 21, 2016.
2
 Ex Parte Emergency Motion for Order Executing the Bench Warrants Against Donald Bowers and Lonny Bowers
(Motion), docket no. 3105, filed December 31, 2015.
3
    Bench Warrant for Lonny Bowers, docket no. 2073, filed January 8, 2010.
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appear as all civil hearings as a condition of his criminal pretrial release. 4 Donald Bowers’s civil

warrant 5 was executed 6 while he was detained in the criminal matter, and he appeared on August

12, 2013 hearing regarding that warrant. 7 At the hearing, Donald Bowers also agreed to appear at

all civil hearings as an additional condition of his criminal pretrial release. 8 Therefore, the

custodial status operation of the civil warrant was suspended pending resolution of the criminal

case, but the warrant was executed and remained in effect. 9

            Donald Bowers’s objections 10 to the Motion have been carefully reviewed. He first

claims that additional incarceration will not provide information or remediate the contempt relief

that ClearOne seeks. 11 But that has not been established. When the operation of custodial status

of the civil warrants was suspended, essentially staying the proceedings on civil warrants, there

was a concern about the interrelationship of the civil warrants with the criminal case. The

concern was that even if Donald or Lonny Bowers took action to remediate their contempt it

might incriminate them in the criminal case and show that they had the ability to comply. There

is no such fear now. They have been adjudicated in the criminal case.

            Donald Bowers also claims is that neither he nor Lonny Bowers have the code and that

only Jun Yang has the code. There has been an entirely weak and insufficient demonstration of




4
    Minute Order, docket no. 2841, filed July 17, 2013.
5
    Bench Warrant for Donald Bowers, docket no. 2321, filed October 13, 2010.
6
    Bench Warrant Return, docket no. 2843, filed July 18, 2013.
7
    Minute Entry, docket no. 2849, filed August 12, 2013.
8
    Id.
9
    Id.
10
  Reply to ClearOne’s Ex Parte Motion for Order Executing the Bench Warrants Against Donald Bowers and
Lonny Bowers (Opposition), docket no. 3107, filed January 8, 2016.
11
     Id. 2-4.



                                                                                                         2
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any efforts to get Mr. Yang to comply with the court’s orders that would relieve Donald or

Lonny Bowers of their contempt.

           Donald Bowers cites extensively to Judge Benson’s comments from the December 2015

sentencing in the criminal case regarding the return of ClearOne’s code. 12 What Donald Bowers

fails to cite is that Judge Benson said that he thought Donald and Lonny Bowers “committed

perjury” and that “their conduct [was] deplorable.” 13 He noted how they have been abusive of

the system 14 and abusive of ClearOne and its intellectual property. 15

           Throughout the history of this case, the Bowerses continued product sales in an evasive

manner. They have demonstrated their intention to protect themselves at the expense of others.

But now the criminal case is no longer awaiting trial. All due process and Fifth Amendment

barriers to this proceeding are gone. Donald and Lonny Bowers are serving a term of

incarceration. Incarceration may make it difficult for them to locate and procure Mr. Yang’s

compliance to return and verify that he is no longer in possession of the code. But that is the

current situation and it is their problem to overcome.

                                                     ORDER

           IT IS HEREBY ORDERED that ClearOne’s Motion 16 is GRANTED. Any stay of the

effect of the warrants imposed in July and August of 2013 is now lifted. The warrants are in full

effect. Donald Bowers and Lonny Bowers shall remain incarcerated until purged of contempt.




12
     Id.
13
     Sentencing Tr. 45:2-5, Case no. 2:13-cr-413-DB-BCW, docket no. 339-5, filed March 3, 2016.
14
     Sentencing Tr. 44:17-45:15.
15
     Sentencing Tr. 45:16-46:17.
16
     Docket no. 3105, filed December 31, 2015.



                                                                                                     3
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           Copies of the warrants are attached to this order. At the end of their term of their

imprisonment, these civil warrants will be upheld and both defendants will be brought to the

District of Utah where they will be further incarcerated.

           IT IS FURTHER ORDERED that the pending motions 17 and the motion filed by Donald

Bowers after the hearing for a stay or preliminary injunction on enforcement of the civil

warrant 18 are DENIED.



           Signed May 4, 2016.

                                                   BY THE COURT


                                                   ________________________________________
                                                       District Judge David Nuffer




17
     Docket nos. 3108 and 3114.
18
  Emergency Motion to Request Stay or Preliminary Injunction of Enforcement of the Civil Warrant, Until 60 Days
After Completion of Movant’s Criminal Contempt Sentence, docket no. 3126, filed April 7, 2016.



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                                                 United States District Court
                                                        for the
                                                   District of Utah
                                                     May 4, 2016

                   ******MAILING CERTIFICATE OF THE CLERK******

RE:       ClearOne Communications v. Chiang et al
          2:07cv37 DN

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